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                        UNITED STATES DISTRICT COURT

                        MIDDLE DISTRICT OF LOUISIANA


    JOHNELL MATTHEWS (#119115)                                            CIVIL ACTION

    VERSUS

    S. W. MCCAIN, ET AL.                                        NO. 18-00589-BAJ-EWD

                                 RULING AND ORDER

        Before the Court is Petitioner’s Petition Under 28 U.S.C. § 2254 For Writ

Of Habeas Corpus By A Person In State Custody (Doc. 1). The Magistrate

Judge has issued a Report and Recommendation (Doc. 19), recommending that

Petitioner’s application for habeas corpus relief be denied as untimely, and, further,

that the Court deny Petitioner a certificate of appealability. There is no objection to

the Magistrate Judge’s recommendation.1

        Having carefully considered Petitioner’s Petition and related filings, the Court

APPROVES the Magistrate Judge’s Report and Recommendation and ADOPTS it

as the Court’s opinion in this matter.

        Accordingly,

        IT IS ORDERED that Petitioner’s Petition (Doc. 1) be and is hereby DENIED

as untimely.



1 Petitioner’s objection, if any, would ordinarily be due withing 14 days of service of the
Magistrate Judge’s Report and Recommendation. 28 U.S.C. § 636(b)(1). Here, however, by
General Order No. 2021-7, the Chief Judge of this District suspended all deadlines for a
period of 30 days commencing August 26, 2021, in response to the impact of Hurricane Ida.
Still, despite the extension afforded by General Order No. 2021-7, Petitioner has not filed any
objection.
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      IT IS FURTHER ORDERED that this action be and is hereby DISMISSED

WITH PREJUDICE.

      IT IS FURTHER ORDERED that a certificate of appealability be and is

hereby DENIED because reasonable jurists would not debate the correctness of this

Court’s ruling that Petitioner’s application is untimely.

      Judgement shall be entered separately.

                           Baton Rouge, Louisiana, this 29th day of September, 2021




                                        ______________________________________
                                        JUDGE BRIAN A. JACKSON
                                        UNITED STATES DISTRICT COURT
                                        MIDDLE DISTRICT OF LOUISIANA




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